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         EXHIBIT 11
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                       From: Kevan Parekh <                      >
                     Subject: Materials for 1:00pm PST Call
                Received(Date): Sun, 28 Oct 2018 12:40:02 -0700
                          Cc: Jeff Williams <                     >, Luca Maestri
                                <                   >,Donal Conroy <                                 >, Saori
                                Casey <                  >
                          To: Tim Cook <                     >
                 Attachment: Q1'19 Update 10.28.pdf
                        Date: Sun, 28 Oct 2018 12:40:02 -0700

               Hi Tim,

               Please find materials to help guide the discussion for today’s call pertaining to our
               iPhone forecast ranges. We’ve tried to incorporate your input including run-charts, etc.

               Best,

               Kevan and Donal


               � Kevan Parekh | Apple Inc. | office:                                | iPhone:
                    |




               Hi Tim,

               Please find materials to help guide the discussion for today’s call pertaining to our iPhone
               forecast ranges. We’ve tried to incorporate your input including run-charts, etc.

               Best,

               Kevan and Donal




               � Kevan Parekh | Apple Inc. | office:          | iPhone:              |




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                                                  Q1’19




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        Macro Considerations
                                 Positives                                        Challenges                                         Uncertainties

                                                                                                                     • Larger reliance on switchers and older / price
                • Installed base customers with 2-4 year old       • Smartphone market expected to be flat to
                                                                                                                     sensitive cohorts; Migration to new ID (Face ID,
           -




                phones are up Y/Y in the $600 - $800 Price                       down YoY.
                                                                                                                     etc); The new-to may become more challenging
                                   Bands                                                                                                 in China
                                                                                                                     • Need to see the device physically may impact
                                                                 • Competition is at larger screen sizes for lower
                • Product strength - bringing the innovative                                                           velocity and ramp-up; Dependency on Store
                                                                 prices (China, SEA and WE) - Hauwei launch of
                features of X down the line, positive reviews                                                          traffic and potentially gets further impacted
                                                                                     Mate 20
                                                                                                                         where online orders are larger % of sales

                 • 128 GB with minimal sell-up - especially         • Pricing in certain geos makes entry price
               important for 7/7+ 2 year upgrades who bought       impact more pronounced; Turkey significant           • Historical curves may not be beneficial
                                   128GB                                               increase

                  • Consumers historically value the latest         • Customers interested in seeing all colors
                  technology vs N-1; Now have product in         before buying. Channel partners have 1-2 demo                  • Economic environment
                         between N-1 and $1,000                                   colors today.


               • When people see and understand product is a
                                                                                                                     • Single lens camera for + customers with dual
               well-spec’d device not a cheaper device, we are     • Launch is starting slower than expected.
                                                                                                                                          lens
                        seeing positive consideration



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        Retail Store Traffic Y/Y
                                                                                                                       XR
                                                                                                                     Launch

                                   W1      W2       W3       W4       W4       W4       W4       W4       W4           W4           W4
                                                                      Sun      Mon      Tue      Wed      Thu           Fri          Sat

                      USA         +5%     +2%       +1%      +3%     +4%       +2%      +1%     (-1%)    (-2%)        +11%          +3%

                      Canada      (-0%)   (-5%)    (-5%)    +0%      +2%       +0%     (-5%)    (-4%)    (-3%)        +11%         (-2%)

                      G. China    +3%     +10%     +18%     +16%     +11%      +9%     +17%     +18%     +14%        +39%          +9%

                      W. Europe   (-0%)   (-0%)     +1%     (-0%)    (-2%)    (-4%)    (-5%)    (-7%)    (-5%)       +10%          +4%

                      IMMEA       (-9%)   (-12%)   (-11%)   (-23%)   (-16%)   (-22%)   (-29%)   (-30%)   (-24%)      (-22%)       (-22%)

                      Japan       +31%    +48%     +47%     +61%     +96%     +32%     +40%     +41%     +38%        +86%          +72%

                      S. Korea      -       -        -                   -      -        -        -

                      S. Asia     +3%     +2%      (-4%)     +1%      +1%     (-1%)     +1%      +0%     (-4%)        +12%         (-4%)

                      ALAC        +8%     (-6%)    +4%      (-1%)    (-4%)     +5%      +7%     (-1%)    (-5%)        +1%          (-3%)

                      Total WW    +4%     +3%      +4%      +5%      +6%      +2%      +2%       +1%      flat       +16%          +5%



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        NPI Entry Pricing (LC - ALP)
                      Plus OLED      Entry OLED                Plus LCD                          Entry LCD
                       FY19       FY19       FY18      FY18     FY17      FY16       FY19     FY18            FY17                FY16
                      XS Max       XS         iPX      iP8+     iP7+      iP6s+      iPXR      iP8             iP7                 iP6s
            USD        1,099       999       999       799       769       749       749       699             649                649
            JPY       124,800     112,800   112,800   89,800    85,800    98,800    84,800    78,800         72,800           86,800
            CAD         1,519      1,379     1,319     1,059    1,049     1,029      1,029     929             899                899
            AUD        1,799       1,629     1,579     1,229    1,269     1,229      1,229    1,079           1,079               1,079
            EUR        1,249       1,149     1,149     909       899       855       849       799             759                745
            GBP        1,099       999       999       799       719       619       749       699             599                539
            RMB        9,599      8,699     8,388      6,688    6,388     6,088      6,499    5,888           5,388               5,288
            TRY        12,299     11,299    6,099      4,799    3,799     3,499      8,499    4,199           3,249               3,099
            RUB        96,990     87,990    79,990    64,990    67,990    65,990    64,990    56,990         56,990           56,990
            INR       109,900     99,900    89,000    73,000    72,000    72,000    76,900    64,000         60,000           62,000
            TWD        39,900     35,900    35,900    28,900    28,900    28,500    26,900    25,500         24,500           24,500
            SGD        1,799       1,649     1,648     1,308    1,248     1,218      1,229    1,148           1,048               1,048
            THB        43,900     39,900    40,500    32,500    31,500    30,500    29,900    28,500         26,500           26,500

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        NPI Entry Pricing (LC - ALP LoL %)
                      Plus OLED      Entry OLED                Plus LCD                          Entry LCD
                       FY19       FY19      FY18       FY18     FY17      FY16       FY19     FY18            FY17                FY16
                      XS Max       XS        iPX       iP8+     iP7+      iP6s+      iPXR      iP8             iP7                 iP6s
            USD          -          -         -         4%       3%         -         7%       8%                -                 -
            JPY          -          -         -         5%      (-13%)      -         8%       8%            (-16%)                -
            CAD          -          5%        -         1%       2%         -         11%      3%                -                 -
            AUD          -          3%        -        (-3%)     3%         -        14%        -                -                 -
            EUR          -          -         -         1%       5%         -         6%       5%               2%                 -
            GBP          -          -         -         11%      16%        -         7%       17%             11%                 -
            RMB          -          4%        -         5%       5%         -        10%       9%               2%                 -
            TRY          -         85%        -        26%       9%         -        102%      29%              5%                 -
            RUB          -         10%        -        (-4%)     3%         -        14%        -                -                 -
            INR          -         12%        -         1%        -         -        20%       7%             (-3%)                -
            TWD          -          -         -          -        1%        -         5%       4%                -                 -
            SGD          -          0%        -         5%       2%         -         7%       10%               -                 -
            THB          -         (-1%)      -         3%       3%         -         5%       8%                -                 -

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